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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   INVENSAS CORPORATION,

          Plaintiff,                                 Civil Action No. 2:17-cv-670-RWS-RSP

                                                     JURY TRIAL DEMANDED
          v.

   SAMSUNG ELECTRONICS CO., LTD. and
   SAMSUNG ELECTRONICS AMERICA,
   INC.,

          Defendants.


                           NOTICE OF OPINION IN RELATED CASE

         Plaintiff Invensas Corporation (“Plaintiff” or “Invensas”) hereby files this Notice of

  Opinion and informs the Court of the attached Opinion and Order in Invensas Corporation v.

  Samsung Electronics CO., Ltd., et al., Case No. 17-1363-MN-SRF, D.I. 61 (D. Del. Oct. 2,

  2018) (attached as Ex. A and Ex. B, respectively). As the Court is aware, Invensas has a co-

  pending lawsuit against Samsung Electronics Co., Ltd. and Samsung Austin Semiconductor,

  LLC in the District of Delaware involving the ‘231 and ‘946 Patents (the “Delaware Action”).

  As in this case, the Samsung entities filed a motion to stay the Delaware Action based on their

  petitions for inter partes review of the ‘231 and ‘946 Patents. On October 2, 2018, the Delaware

  Court denied Samsung’s motion to stay. The Opinion and Order denied Samsung’s motion to

  stay based on the filing of the inter partes review are attached as Exhibits A and B to this notice.

  Dated: October 9, 2018                        Respectfully submitted,


                                               /s/ Lawrence J. Gotts by permission Claire Henry
                                                Lawrence J. Gotts
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                                     Attorneys for Plaintiff Invensas Corporation




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

  are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

  R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

  consented to electronic service were served with a true and correct copy of the foregoing by

  email on October 9, 2018.

                                                 /s/ Claire Henry




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